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 5                              UNITED STATES DISTRICT COURT
 6                             SOUTHERN DISTRICT OF         CA~IFORNIA
 7                                     March 2015 Grand Jury
 8   UNITED STATES OF AMERICA,                        Case No.             '16 CR 0 3 2 9 WQH
 9                        Plaintiff,                 I -
                                                       N-D-
                                                          I -
                                                            C T -
                                                                MEN
                                                     -            -- T                              d
                                                                 )                                  ~
10         v.                                        Title 18';· U.S.C., Sec. 2261(a) (1)1
                                                     Domestic Violence within the
11 ADAM ANDREW ABBETT,                               Special Maritime or Territorial
                                                     Jurisdiction of the United States
12                       Defendant.
13

14         The grand jury charges:
15         On    or    about   June     9,   2015,     within        the    Southern     District   of
16   California, defendant ADAM ANDREW ABBETT,                   with the intent to injure,
17   harass     or    intimidate      S.M.C.,   his     spouse,        and    within     the   special
18   maritime and territorial jurisdiction of the United States, committed
19' or attempted to commit an assault, a crime of violence against S.M.C.;
20   in violation of Title 18, United States Code, Section 2261(a) (1).
21         DATED: February 19, 2016.
22                                                                    E BILL:

23
                                                           Foreperson
24   LAURA E. DUFFY
25   unite~ :~torney

26   By:               ~
           KATHLEEN J. O'HARA
27         Special Assistant U.S. Attorney

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     KJOH:nlv(l) :San Diego
     2/18/16
